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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CASE NO.: 2:15-CV-05642-CAS(JCx)
CASE TITLE: GRAY, ET AL. v. PERRY, ET AL. UO

 

 

 

 

CENTRAL DISTRICT OF CALIFCR
By @ ALIPORNIA

DEPUTY

 

 

JURY NOTE NO.04. |

{/. The Jury has reached a unanimous verdict.

The Jury requests the following:

 

 

 

 

 

 

 

Court's response:

Date & Time:

Dated this 2 day of, July , 2019

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